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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA




LOIS CHISHOLM

          v.                                 NO.   11-1792

NCO FINANCIAL SYSTEMS, INC.



                                JUDGMENT


BEFORE BRODY, J.

          AND NOW, to wit, this lOth day of August, 2011, it is
ORDERED that in accordance with NCO Financial Systems, Inc. 's offer
of judgment and plaintiff's acceptance pursuant to F.R.C.P. 68.
          It is ORDERED that judgment is entered in favor of
plaintiff and against NCO Financial System, Inc. in the amount of
$750.00 together with interest and costs.




judg
